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Duncan v. Becerra, Not Reported in Fed. Supp. (2019)

2019 WL 1510340
Only the Westlaw citation is currently available.
United States District Court, S.D. California.

Virginia DUNCAN, Richard Lewis, Patrick
Lovette, David Marguglio, Christopher Waddell,
and California Rifle & Pistol Association, Inc., a

California corporation, Plaintiffs,
Vv.

Xavier BECERRA, in his official capacity as

Attorney General of the State of California; and
Does 1-10, Defendants.

Case No. 17-cv-1017-BEN-JLB

|
Signed 04/04/2019

Attorneys and Law Firms

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ORDER STAYING IN PART JUDGMENT
PENDING APPEAL

Hon. Roger T. Benitez, United States District Judge

*1 On April 1, 2019, Defendant Xavier Becerra, in his
official capacity as the Attorney General of the State of
California, applied ex parte for an order, pursuant to
Federal Rule of Civil Procedure 62, staying the Judgment
entered in this action on March 29, 2019, pending his
appeal to the United States Court of Appeals for the Ninth
Circuit. As part of a stay pending appeal, the Attorney
General requests reinstatement of the preliminary
injunction issued in 2017 enjoining his enforcement of

M calif, Penal Code § 32310 (c) and ™@™(d). He also
notes that the Court has discretion to tailor the stay to
account for cases where residents have purchased large-
capacity magazines since last Friday.

In deciding whether to grant a stay pending appeal, a
court should consider the following four factors: (1)
whether the stay applicant has made a strong showing that
he is likely to succeed on the merits; (2) whether the
applicant will be irreparably injured absent a stay; (3)
whether issuance of the stay will substantially injure the
other parties interested in the proceeding; and (4) where
the public interest lies. “Each factor, however, need not be
given equal weight.” Presidio Components, Inc. v. Am.
Tech. Ceramics Corp., No. 14-cv-2061-H-BGS, 2018 WL
4928041, at *3 (S.D. Cal. Oct. 10, 2018) (citations
omitted). The “likelihood of success in the appeal is not a
rigid concept.” Jd. “Therefore, to obtain a stay pending
appeal, a movant must establish a strong likelihood of
success on appeal, or, failing that, “ ‘demonstrate a
substantial case on the merits,’ provided the other factors
militate in movant’s favor.” /d. (citations omitted).

These considerations are similar to the factors an
appellate court should weigh in deciding whether to issue

a stay. Planned Parenthood of Greater Texas Surgical
Health Servs. v. Abbott, 571 U.S. 1061, 134 S. Ct. 506
(2013) (Scalia, J., concurring in denial of application to
stay) (“When deciding whether to issue a stay, the Fifth
Circuit had to consider four factors: (1) whether the State
made a strong showing that it was likely to succeed on the
merits, (2) whether the State would have been irreparably
injured absent a stay, (3) whether issuance of a stay would
substantially injure other parties, and (4) where the public
interest lay. The first two factors are “the most critical.’”)

(quoting Nken v. Holder, 556 U.S. 418, 434 (2009) ).

A Substantial Case on the Merits

The Attorney General has not made a strong showing, to
this Court, that he is likely to succeed on the merits.
Nevertheless, both sides are aware that other courts have
come to contrasting conclusions on similar issues. Of
course, facts matter and the facts are different. Strong and
thoughtful views may be found on both sides of the
important legal questions presented by this case. This
Court’s decision cuts a less-traveled path and the outcome
is very important to all citizens.

“There are many ways to articulate the minimum quantum

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of likely success necessary to justify a stay — be it a
‘reasonable probability’ or ‘fair prospect, ... ‘a
substantial case on the merits,’ ... [or] that ‘serious legal
questions are raised.’ We think these formulations are
essentially interchangeable, and that none of them
demand a showing that success is more likely than not.
Regardless of how one expresses the requirement, the
idea is that in order to justify a stay, a petitioner must

show, at a minimum, that she has a substantial case for

relief on the merits.” — Leiva-Perez v. Holder, 640 F.3d
962, 967-68 (9th Cir. 2011) (citations omitted). In this
case, the Attorney General has demonstrated a substantial
case on the merits, which favors a stay.

Irreparable Injury to the State
*2 The Attorney General says that a state suffers
irreparable injury whenever its laws are enjoined. There is

strong support for that claim. Abbott, 571 U.S. 1061,
134 S. Ct. at 506 (“With respect to the second factor, the
Court of Appeals reasoned that the State faced irreparable
harm because “ ‘any time a State is enjoined by a court
from effectuating statutes enacted by representatives of its
people, it suffers a form of irreparable injury.’ ”

Maryland v. King, 133 S.Ct. 1, 3 (2012) (Roberts, C.J.,

in chambers) (quoting New Motor Vehicle Bd. of Cal.
v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)
(Rehnquist, J., in chambers) ).”). The Ninth Circuit,
however, has never adopted this view. Latta v. Otter, 771
F.3d 496, 500 n.1 (9th Cir. 2014) (“Individual justices, in
orders issued from chambers, have expressed the view
that a state suffers irreparable injury when one of its laws

is enjoined. See § Maryland y. King, 133 S.Ct. 1, 3

(2012) (Roberts, C.J., in chambers); New Motor
Vehicle Bd. of California v. Orrin W. Fox Co., 434 U.S.
1345, 1351 (1977) (Rehnquist, J., in chambers). No
opinion for the Court adopts this view.”).

The Attorney General may be correct, but it does not end
the inquiry. “As the cited authority suggests, a state may
suffer an abstract form of harm whenever one of its acts is
enjoined. To the extent that is true, however, it is not
dispositive of the balance of harms analysis. If it were,
then the rule requiring “balance” of “competing claims of

injury” would be eviscerated.” M8 indep. Living Ctr. of S.
California, Inc. v. Maxwell-Jolly, 572 F.3d 644, 658 (9th
Cir. 2009), vacated on other grounds and remanded sub

nom. Douglas v. Indep. Living Ctr. of S. California,
Inc., 565 U.S. 606 (2012). “Federal courts instead have

the power to enjoin state actions, in part, because those
actions sometimes offend federal law provisions [or in
this case, one of the Bill of Rights], which, like state
statutes, are themselves ‘enactments of its people or their
representatives.’ ” Jd. (emphasis in original) (citation
omitted).

Injury to Other Parties

Without question, entering a stay pending appeal will
harm the Plaintiffs, and all others like the Plaintiffs (who
are many), who would choose to acquire and possess a
firearm magazine holding more than 10 rounds for self-
defense. “It is well established that the deprivation of
constitutional rights ‘unquestionably constitutes

irreparable injury.” ” = Rodriguez v. Robbins, 715 F.3d

1127, 1144 (9th Cir. 2013) (quoting Melendres vy.
Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012), quoting

Elrod v. Burns, 427 U.S. 347, 373 (1976) ).

Where the Public Interest Lay
The State’s interest in enforcing a law merges with the

public interest, where the law is valid. | Nken, 556 US.
at 435. At the same time, however, “ ‘it is always in the
public interest to prevent the violation of a party’s

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constitutional rights. Am. Beverage Ass’n y. City &
Cty. of San Francisco, 916 F.3d 749, 758 (9th Cir. 2019)

(quoting Melendres, 695 F.3d at 1002).

Discussion

The first factor weighs in favor of staying the injunction.
The second factor weighs heavily in opposing directions
and thus amounts to a draw. The last two factors weigh
against staying the injunction. The first two factors are the

most critical. Abbott, 571 U.S. 1061. The result of
these four factors slightly favors a stay pending appeal.

The Court understands that strong emotions are felt by
people of good will on both sides of the Constitutional
and social policy questions. The Court understands that
thoughtful and law-abiding citizens can and do firmly
hold competing opinions on firearm magazine

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restrictions. These concerns auger in favor of judicial
deliberation. There is an immeasurable societal benefit of
maintaining the immediate status quo while the process of
judicial review takes place.

*3 The power to grant a stay pending appeal is part of a
court’s “traditional equipment for the administration of
justice,” and is “a power as old as the judicial system of

the nation.” Nken, 556 U.S. at 427. A partial stay will
permit the appellate court to bring its considered
judgment to bear -- judgment that takes time. “The choice
for a reviewing court should not be between justice on the
fly” or a moot ceremony. /d. A stay pending appeal is a
means of ensuring that the reviewing court(s) can
thoughtfully fulfill the role of review. Jd. A stay “simply

suspend[s] judicial alteration of the status quo.”  —_/d. at
429. In this case, that means staying the injunction on

M subsections (a) and Bb) of § 32310 which has been
in force since 2000 and continuing in place the injunction
on subsection (c) and (d) entered by this Court on June
29, 2017, pending the outcome of the appeal.

In layman’s terms, the State of California and the law
enforcement agencies therein will be free to re-start the

MM calif. Penal Code § 32310 (a) and

Bb) which currently prohibits, among other things, any
person in the state from manufacturing, importing into the
state, offering for sale, giving, lending, buying, or
receiving a firearm magazine able to hold more than 10
rounds (as defined by Calif. Penal Code § 16740). This
will continue until the appeal proceedings conclude or the
stay is modified or lifted.

enforcement of

At the same time, the State of California and the law
enforcement agencies therein will remain enjoined (or

prevented) from enforcing calif. Penal Code § 32310

(c) and Bay which would have criminalized the simple
possession of a firearm magazine able to hold more than
10 rounds and required disposing of such magazines. This
will also continue until the appeal proceedings conclude

or the stay is modified or lifted.

Both parties indicate in briefing that persons and business
entities in California may have manufactured, imported,
sold, or bought magazines able to hold more than 10
rounds since the entry of this Court’s injunction on March
29, 2019 and in reliance on the injunction. Indeed, it is the
reason that the Attorney General seeks urgent relief in the
form of a stay pending appeal. Both parties suggest that it
is appropriate to fashion protection for these law-abiding
persons.

THEREFORE, IT IS HEREBY ORDERED that the
Judgment is stayed in part pending final resolution of the
appeal from the Judgment. The permanent injunction
enjoining enforcement of M california Penal Code §
32310 (a) and = (b) is hereby stayed, effective 5:00 p.m.,
Friday, April 5, 2019.

IT IS HEREBY FURTHER ORDERED that the
preliminary injunction issued on June 29, 2017, enjoining

enforcement of = California Penal Code § 32310 (c) and
= (d) shall remain in effect.

IT IS HEREBY FURTHER ORDERED that the
permanent injunction enjoining enforcement of

california Penal Code § 32310 (a) and #0) shall
remain in effect for those persons and business entities
who have manufactured, imported, sold, or bought
magazines able to hold more than 10 rounds between the
entry of this Court’s injunction on March 29, 2019 and
5:00 p.m., Friday, April 5, 2019.

All Citations

Not Reported in Fed. Supp., 2019 WL 1510340

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EXHIBIT "B"
